
COOKS, J.,
dissenting.
| jThe Lake Charles Harbor and Terminal District (LCP) purchased a 215 acre tract of land in 1999 located within the jurisdictional boundaries of the West Cameron Port, Harbor and Terminal District (West Cameron). Both entities are political subdivisions of the State of Louisiana created by specific enabling legislation, and the boundaries of each are statutorily fixed. It is undisputed that the land at issue is wholly within the legislatively defined territorial boundaries of West Cameron.
This land was purchased by Stanolind Oil &amp; Gas Co., the predecessor to Amoco, in 1935. Beginning in 1938, the property owner granted various rights-of-way and spoil dumping privileges to the USA, State of Louisiana, and LCP-the last entered in 1998 and effective through April 15, 1999. All but one of these servitudes/easements were provided to all of the noted governmental entities free of charge.
Sometime between April 28, 1998 and February 1, 1999, Amoco sold the subject property to Deep Sea, LLC. On February 1, 1999, Deep Sea, LLC, through its managing partner David Reinauer, sold the subject property to LCP for the sum of $550,000.00, without warranty of title, and with an assignment to LCP of an existing surface lease in favor of Deep Sea, LLC and Dyengy Midstream, Inc. Hackberry LNG Terminal, LLC (Hackberry) acquired all right, title, and interest inj^the surface lease from its parent company, Dynegy Midstream Services, Ltd. Partnership, sometime before December 31, 2002. On the same date, Hackberry and LCP entered into an agreement entitled “Second Amendment To Surface Lease” which dramatically changed the original surface lease agreement and by its own recitations changed “the use of the premises ” leased.1
*591The new lease agreement provided for the construction and operation of a new facility with the capacity to deliver liquified natural gas by marine vessels and via a new 35 mile pipeline to be constructed on the subject property passing through neighboring parishes. Additional acreage was added in this “amended lease,” and the duration of the lease was changed to 30 years, plus six five-year options at the lessee’s discretion. The annual rental was changed from $25,000.00 to $356,040.00 with provisions for additional increases using the CPI Index. This “Second Amended Lease” further provided that wharfage fees are to be paid to LCP in addition to the new base rent, with a requirement of a minimum wharfage fee, and various other charges. When all is said and done, these fees combined with the rental payments will net an estimated Sixty-Five Million Dollars ($65,000,000.00) over the life of the lease to LCP’s coffers. West Cameron Port will net zero, and Cameron Parish will receive no revenue-only “the bill for police and fire protection.” The property is not subject to ad valorem taxation because it is owned by a political subdivision of the state as a local sponsor, namely LCP, and it has been specially exempted. See La. Const, art. VII, § 21(A), and Slay v. Louisiana Energy &amp; Power Auth., 473 So.2d 51, 53 (La.1985).
Additionally, the “Second Amended Lease” included the following provisions | ^(emphasis added):
Lessee acknowledges that vessels calling at the LNG facilities may also be subject to a channel user fee should the District impose such a fee at a future date in accordance with a general channel user fee plan authorized by and in accordance with applicable law to be implemented by the District on all commercial vessels subject to the requirements of pilotage. Lessee, however, shall not be responsible for such channel usage fees or for arranging or requiring calling vessel owners and charterers regarding such channel user fees.
Additional Charges Legally Accessible by the District. Lessee hereby acknowledges that the base rent and the wharfage fees are not intended, and will not include, reduce or abate, any charges legally accessible by the District against vessels calling on the LNG Terminal or using any other facilities or waterways or otherwise subject to the District’s jurisdiction to assess fees and such fees and charges will be separately assessed, charged and paid by the vessel’s owners or charterers in accordance with the District’s assessments of same, all in accordance with applicable laws and regulations.
Additional Rights-of Way. The District will provide any rights-of-way across the Additional District Property (as defined in Paragraph 14 below), located north of the Amended Leased Premises, required to allow construction and operation of the LNG Facilities; including primarily, but without limitation, access rights-of way and pipeline for the related natural gas pipeline.
Channel Access and Usage. Lessee and the District agree and acknowledge that nothing in this Lease amendment is intended to, or shall be construed as, granting vessels calling at Lessee’s facilities any greater or lesser priority with regard to channel access and usage than existing users of the channel and vessels calling at Lessee’s facilities are subject to the same vessel traffic controls and management as the District may, in accordance with applicable laws, impose on other vessels using the Calcasieu River Ship Channel.
*592Although the noted future channel activities, like the previously mentioned ones, are all earmarked to occur wholly within the jurisdictional limits of West Cameron Port, no efforts were made by LCP to secure a valid intergovernmental agreement with West Cameron Port to jointly engage in the venture. The lease was subsequently amended three more times. The last and fifth amendment to the lease is dated September 20, 2006.
The majority opinion first reviews the pertinent statutes relating to the 1 territorial jurisdiction of the two port districts and correctly concludes neither district has any authority to engage in port activity outside its territorial boundaries. Turning its sights specifically on LCP, the majority rejects LCP’s argument, steadfastly advanced below and on appeal, that it has co-existing authority with West Cameron Port under its enabling statute to acquire land for port activity outside its territorial jurisdiction. I join the majority in this finding because the law is well settled on this issue and has been since the inception of the two ports.2
Nonetheless, LCP argues its grant of authority as Local Sponsor for the channel effectively expands its territorial limits and sanctions its continued port operations in Cameron Parish. Again, the majority finds LCP’s reliance on the local sponsorship provision for authority to conduct port activity in Cameron Parish is not well placed because that authority, likewise, was limited in scope and encompassed “channel maintenance” operations. This finding is also well rooted in the law, and I, too, join the majority in repeating what the legislature has already declared.
Our difference lies in the majority’s ultimate finding that LCP, though adrift at sea on all of its arguments, is saved by the facts of the case as the majority sees them. The majority states that no one disputes this property was acquired by LCP for dredge disposal under its Local Sponsor authority, and that, having so acquired the property encumbered with a lease, it may then “amend” that lease, if in so doing, LCP does not engage in port activity within WCP’s jurisdiction. The majority then finds LCP is not engaging in port activity in Cameron Parish, and the amendments did | snot “fundamentally change the nature of the lessee’s operations so as to, in effect, constitute a new lease.” According to the majority, the question of whether LCP is engaging in port activity is a “legal question.” In truth, this question is a factual one, which compels an inescapable legal result.
There is no genuine dispute that LCP is engaged in port activity in Cameron Parish-it said so below and insisted it had the unfettered right to do so. And there is absolutely no basis in law or fact to find that the multiple amendments to the lease did not change the nature of Cameron LNG’s and LCP’s operations at the site and in Cameron Parish.
The evidence in the record filed on appeal demonstrates from the very beginning LCP contemplated purchasing the property in Cameron Parish with the intent to *593operate and develop the property for port business, an activity authorized only by its enabling legislation and expressly limited to its territorial jurisdiction. See La.R.S. 34:206. The record squarely places at issue the majority’s finding that LCP acquired the property for dredge disposal and the purchase was necessary for channel maintenance. The record shows this land was used since 1938 for spoil disposal. The record also reflects, and LCP admitted below, that this land was no longer being used for spoil disposal at the time it decided to purchase the property and has not been used for spoil disposal since its acquisition in 1999. At the time LCP purchased the property there was a servitude in place for potential spoil disposal that was granted to LCP at no cost. It simply defies all logic to believe that LCP decided to pay $550,000.00 to acquire a right it already possessed to dispose spoil — an activity it stopped doing on the subject land years before and has not done since.
LCP’s own official minutes and resolutions, entered into evidence below, | (¡memorialized its underlying purpose for purchasing the property. At a special meeting held on January 18, 1999, LCP’s minutes reflect the following (emphasis added):
This property has improvements — the dock and a slip. The slip is approximately 900 feet deep and 1200 feet wide. It could easily be dredged to 40 feet. There are spoil areas on each side that could be used. A vicinity map showing the general location, a site data sheet, and information describing improvements located on the property were before the Board.
Dynergy had approximately 90.03 acres under lease. The lease has six (6) five-year options. The option will come up in approximately one year. If the lease is renewed and the options are exercised, the lease currently would pay the District about a ten percent (10%) return on the $550,000.00. If the lease is not extended, the District would have to look for another use of the property. In Mr. Wiseman and he’s judgment, the property is extremely valuable to the potential use of the Port. There are 1700 feet that front on deep water. Part of the property has been built up to an approximate 15-foot elevation as a result of the spoil disposal areas. It would serve as a very good site for potential development by the Port. Mr. Dees showed a photograph of the property to the Board and pointed out the improvements, the leased acreage, and the boundaries of the property.
Deep water property is not being created. When the Port has a chance to purchase this type of property, Staff feels it is a good investment and something that fits in the mission of the Port for long-range planning.
Mr. Watts pointed out that this property was in Cameron Parish. He looked forward to some benefits filtering down to Cameron.
Additionally, LCP’s official Resolution No. 99-001, which formally approved the purchase, does not contain a single mention of spoil disposal, dredging, Local Sponsor authority, or channel maintenance. In fact, the three recited official reasons for acquiring the subject property stated in LCP’s Resolution No. 99-001 are:
WHEREAS, the property contains a slip that is approximately 900 feet deep and 1200 feet wide and a 300 — -foot dock; and
WHEREAS, presently there is a tenant on the property; and
WHEREAS, if tenant does not renew lease options, the property is extremely *594valuable to the potential use of the District.
|7NOW THEREFORE, BE IT RESOLVED BY THE BOARD OF COMMISSIONERS OF THE LAKE CHARLES HARBOR AND TERMINAL DISTRICT IN SPECIAL SESSION CONVENED THAT:
SECTION 1: All of the foregoing introductory provisions are hereby made a part of this Resolution and the Board of Commissioners of the Lake Charles Harbor and Terminal District does hereby approve purchase of approximately 218 acres of property located on the Calcasieu Ship Channel, as described in Exhibit “A” attached hereto and made a part thereof, from Deep Sea, L.L.C. for the purchase price of $550,000.00 ...
The record overwhelmingly demonstrates that LCP intended from the outset to purchase this property for “development” of its port and intended fully to conduct port activities, including specifically regulating marine traffic of all ships using the channel traveling to and from the site located in Cameron Parish.3 The minutes of LCP’s meeting on October 14, 2002, reflect LCP was adamant that it, not Dynegy, had the authority, and would in fact “regulate” the marine traffic in this part of the channel in Cameron Parish, and the new lease had to contain a provision granting it full authority to do so. The minutes of LCP dated October 14,-2002, state (emphasis added):
This new LNG facility would generate 175 new LNG ships a year on the channel, [text deleted] If Dynegy had all these additional ships, Staff felt it was very important that a clear statement was included in the lease agreement that Dynegy recognized the authority of the District to, in effect, act as a traffic cop. The District believed it had the authority for the whole channel to regulate the traffic and how it flowed in and out of the ship channel. Staff wanted an expressed provision in the lease that acknowledged that by Dynegy. Dyengy agreed to that on the telephone, but then after their attorney finished with it, it was deleted and they basically inserted No. 11, which stated that Dynegy would determine what commercially reasonable measures needed to be Rtaken by them so that the traffic flowed through the channel like it was suppose to. Mr Dees stated he could not recommend it to the Board and Mr. Jordan had the same problem with it. Staff was requesting that the Board approve the revised proposed lease terms and conditions except for Dynegy’s No. 11 and authorize Staff to reinstate the provision, Item 9, the District regulate the traffic. [text deleted] Mr. Dees replied they were putting that back in. Dr. DeR-ouen clarified that the District’s verbiage was being put back in No. 9 and Dynegy’s No. 11 would be eliminated, [text deleted] Mr. Williams asked if the District could regulate the chan*595nel to give Dynegy the full 175 ships a year. Mr. Dees stated that had been the main issue the whole time. CMS was proposing 175 ships and Dynegy was proposing 210. Between the expansion at CMS and Dynegy were 400 ships, [text deleted] Dynegy had come to the table and agreed paying the District on a per unit basis. The more they utilized the facility, the more revenue the District had. [text deleted]
There were so many more companies and industries that this affected that the District needed to be very careful what it did at this location. Dr. DeRouen stated that since Dynegy was way up the channel, the District could not let them have control of the channel for them to determine what was economically feasible with their ships and involve Conoco, CITGO, everyone else and the District for ships being shut out. Mr. Dees stated that Conoco and CITGO were the two largest users.
The final lease amendment, indeed, contains the provision insisted upon by LCP making it expressly clear that it, not its tenant Dynegy, has the authority to “regulate” all marine traffic in this part of the channel located entirely within WCP’s territorial jurisdiction, and to exercise full control and authority including assessment and collection of fees from Dyne-gy’s ships and all ships using this portion of the channel and all ships calling upon this port. The minutes of LCP dated October 14, 2002, and later the lease provision, went so far as to expressly point out that:
Dynegy would pay any general channel users fees in addition to that. If the District in a couple of months levied a general user fee, which they had been talking about and having notices, etc., they would pay that on top of this unit charge.
Further, as clearly evidenced in LCP’s minutes, the Port Director of the Lake Charles Harbor and Terminal District, Mr. Robert Adam McBride (McBride), ^testified he performs the same functions of Port Director both over the properties owned by LCP in Calcasieu Parish and in Cameron Parish. He admitted LCP, “act[s] as a port” (emphasis added) in West Cameron’s port district. McBride also testified he controlled what actions take place on the property located in Cameron’s district owned by LCP and he gives permission in his capacity as Port Director for what activities and actions are authorized on the property located in West Cameron’s territory. Moreover, McBride, when asked whether the services and facilities which would be taking place on the Sempra development would be “port facilities” responded, “There will be dock and port facilities as part of the overall project under development” (emphasis added) and he admitted that compensation for such dock and port facilities conducted in Cameron Parish will be paid to LCP. When asked about the provisions of the contract between LCP and the Sem-pra project, McBride testified:
A. (McBride) They outline the rental payments and other terms and conditions associated with the property. Yes.
Q. One of which is encaptioned “Wharfage” correct?
A. It’s encaptioned ‘Wharfage,” yes.
Q. And it deals with decathons (ph.) to be received by the Lake Charles Port for a certain flow through or pass through vessel, correct?
A. That’s correct.
Q. For vessels — for docking there, correct?
A. Yes.
Q. (Mr. Dees) And in regard to Mr. Theunissen’s question that there are go*596ing to be port activities at the Sempra site, that is correct. There are going to be but there are not as of today; is that right?
|1ftA. There are not — there are no current port activities at the site. There is construction activity underway there at present.
Q. (Mr. Thuenissen) In followup to that specific question, the lease is for that very purpose in your receiving rentals upon that lease now and have been for a time frame?
A. The lease is for the purpose of receiving vessels with cargo. To that extent, its port authority as well as the rental of the site and the property adjacent to it for that purpose, (emphasis added)
Q. And the construction, you said y’all don’t do activity out there. Have you visited the site physically?
A. I have visited the site. Yes.
Q. For what purpose?
A. To observe.
Q. And to make sure that things are consistent with the lease?
A. Just to observe the activity that’s underway?
Q. And have any of your port board members gone?
A. To the best of my knowledge, there have been port board members.
Q. For what purpose?
A. To observe the activity of the site.
Clearly, the stipulated facts and other submissions in the record support the trial court’s finding that LCP’s arrangement with Cameron LNG constitutes port activities outside of its territorial jurisdiction. When the case was heard below LCP did not contest that the lease and all the activities it encompassed constituted “port activities.” In its Answer to the suit at Paragraph 20, LCP, in fact, admitted it was engaging in “port services and activities,” including the leasing of its properties inluCameron Parish (emphasis added):
The LC Port, under its powers and authorities found at La.R.S. 34:201, et seq., has, for over eighty (80) years, managed, maintained, regulated, and operated extensive port facilities and the Calcasieu River Ship Channel (the “Channel”) in both Calcasieu and Cameron Parishes; acquired in both parishes, voluntarily and by way of expropriation, numerous pieces of property either in full ownership or by way of easements or rights of way; acted in accordance with the prior designations of the governor and the attorney general as the “Local Sponsor” for the entire Channel; and otherwise provided and performed, in accordance with its stated powers, port services and activities, including the leasing of its properties in both Cameron and Calca-sieu Parishes.”
The entire discussion below, at the hearings on the exceptions and on the motions for summary judgment, all of which were submitted as part of the record, involved the fees to be collected by LCP as-part of the “lease arrangement” with LNG, which included wharfage. The majority makes no mention of the wharf-age fees and other fees assessed by LCP against vessels operating in Cameron Parish and being collected by LCP. Even Cameron LNG’s attorney discussed wharf-age in his brief remarks to the court. When the fees for wharfage and other traditional port activities were discussed, LCP’s response was the same as it admitted in answering the suit-it possesses concurrent jurisdiction and can conduct port activities in Cameron Parish. The lease itself, and the specific language addressing wharfage and other traditional port activities, were all discussed and were central to the trial court’s ultimate determination *597in the case. In at least two or three instances the trial court asked if there were any disputed facts in the case and each time LCP responded “No.” Mr. Dees, LCP’s trial attorney arguing in the trial court said (emphasis added):
[A] piece of property that’s on there, that is facilitating the development of a billion dollar LNG facility with deep-draft ships back and forth, is — is not even, I don’t think, in question, as to whether that is a legitimate Port activity.
And, Mr. McBride in his testimony specifically testified:
|12Q. (Mr. Theunissen) Is the Cameron LNG facility a port, harbor and terminal service that gets activity of the Lake Charles Port: yes or no?
A. (McBride) The lease is a — an activity of the Port.
Q. And the money that ya’ll get for the lease involves a surface lease and so much money for vessels being offloaded — put through—
A. Yes.
Q. —crew boats
A. That’s correct.
Regulating marine vessels calling on an inland port, imposing and collecting wharf-age fees on marine vessels calling on an inland port, imposing and collecting channel user fees on marine vessels calling on an inland port, and policing marine vessel traffic are undisputably port, harbor, and terminal activity. A port may engage in “port activities” in more than one way — it is not necessary for it to own the buildings, the boats, or even the docks, or to hire employees to work at the plant. Leasing property it owns to third parties for the purpose of charging fees on their operations on the site is what many ports do, including LCP. This is what LCP is doing in Cameron at the LNG site and this is precisely what it “amended” the lease to do. When LCP acquired the subject property, it was burdened by an existing lease that incidentally affected port activities within Cameron Parish. The power to regulate this port activity, however, remains with West Cameron Port. LCP “amended” the lease multiple times making significant material changes so as to thereafter engage in port, harbor and terminal activity within WCP’s jurisdiction. LCP cannot expand its jurisdiction and authority by such means.
The Louisiana Supreme Court long ago addressed this argument in Board of Com’rs for the Port of New Orleans v. New Orleans &amp; S.F. R. Co., et al., 112 La. 1011, 36 So. 837 (1904). In that case, the City of New Orleans authorized construction and | ^maintenance of a belt railroad, which at certain points passed over and through public wharves, that were being used as public landings by the Port of New Orleans. By specific legislation the Port of New Orleans had exclusive authority for the control and administration of the harbor, port, wharves, and landings of the port of New Orleans. The court, relying on the legislative grant of authority to the Port, stated (emphasis added):
[T]he state, an incorporeal being, charged with the administration of the corporate property in question, must necessarily act through an agent, and that whereas, until 1896, it acted through the city of New Orleans, it then appointed as its agent for the purposes of such administration the board of port commissioners, withdrew from the city all authority that had ever been granted to it in that behalf, ‘save,’ as this court has decided, ‘in connection with private wharves,’ and, in language at once more specific and more comprehensive, conferred that authority upon the agent so appointed, and that the constitutionality *598of the statute by which this change of agents was affected has not been attacked by any of the pleadings in this case.
The court continued in its reasoning (emphasis added):
In conclusion, it may be remarked that, whilst the city of New Orleans has no present jurisdiction over the wharves and landings of the port of New Orleans, as such, it is quite likely that she has jurisdiction in other directions, the exercise of which may incidentally affect that property, just as the exercise by the states of the power to enforce quarantine and inspection laws may incidentally affect commerce, the power of which is vested in Congress. Such jurisdiction does not, however, extend to matters relating merely to the control and administration of the property, and hence does not authorize the interference therewith which is threatened and complained of in this case.
The Supreme Court made it clear, the jurisdiction expressly granted to the Port of New Orleans could not be impinged upon by the City of New Orleans just because the City of New Orleans may have other jurisdictional authority that may incidentally affect the same property. Likewise, just because LCP has authority to use or acquire the present property for spoil disposal and maintenance of the channel under its local sponsor authority, and the property was burdened by a prior lease which incidentally | ^involved the use of the shipping channel, the power to collect fees “as a port commission” for wharf-age and other port activities was vested in Cameron and none other. The sponsorship authority granted LCP does not extend to matters relating to “wharfage fees,” and “fees against vessels calling on the LNG terminal or using any other facilities or waterways or otherwise subject to the District’s jurisdiction to assess fees and such fees and charges will be separately assessed, charged, and paid by the vessel’s owners or charterers in accordance with the District’s assessments of same.” (Second amendment to lease). Such fees and charges are exclusively reserved for WCP to assess and collect within Cameron Parish. These are not incidental matters.
Neither is the language “necessary for subsequent maintenance” of the channel broad enough to expand LCP’s authority in Cameron Parish, allowing it to amend the original surface lease to collect fees based on port operations at the site. This argument was firmly rejected long ago by this court in an opinion authored by Judge Saunders. In Twin Parish Port Com’n v. Berry Bros., Inc., 95-425 (La.App. 3 Cir. 10/4/95), 663 So.2d 257, writ denied, 95-2665 (La.1/5/96), 666 So.2d 288, we addressed the question of whether the Twin Parish Port Commission, a political subdivision of the state, possessed any inherent powers to enact regulations in fields where it lacks an affirmative grant of statutory or constitutional authority. This court concluded the port commission did not possess any “inherent powers” beyond those expressly granted by statute or the constitution. Finding the port commission had no authority to enact an ordinance such as Ordinance No. 3, prohibiting the discharge of oil, grease, and refuse into Lake Peign-eur, Judge Saunders wrote (emphasis added):
By analogy, we conclude that the trial court acted correctly with regard to Ordinance No. 3. In accord, Desormeaux Enterprises, Inc. v. Village of Mermentau, 568 So.2d 213 (La.App. 3 Cir.1990). Its decision is supported not only by legislation granting the state broad powers to h ¡¡regulate the environment, but by the absence of statutory authority *599granting the Twin Parish Port Commission concurrent jurisdiction.
Id. at 260.
This court clearly held the port commission in that case had no more authority than that which is statutorily or constitutionally granted it by express provisions. The court recognized that the local citizens and local authorities certainly have an interest in “vigilantly safeguarding” the environment. Id. at 261. Nevertheless, it is the state which has “exclusive” jurisdiction to safeguard the water quality of Lake Peigneur as such authority is “ordained by the laws of this state and its people.” Id. As the court explained: “The Commission is not permitted to issue regulations in its own right, however, absent constitutional or statutory authority which it currently lacks.” Id.
Likewise, the Louisiana Second Circuit Court of Appeal, in Lake Providence Port Commission v. Bunge Corporation, 193 So .2d 363 (La.App. 2 Cir., 1966), writ refused, 250 La. 269, 195 So.2d 147 (1967), held that absent a positive grant of power to the port commission by the Louisiana Constitution, the commission did not have the authority to prohibit the defendant landowner from constructing facilities on its land merely because the facility would be situated entirely on the bank of the Mississippi River within the port commission’s district.
[T]he constitutional grant to regulate commerce and traffic within the port area did not necessarily bestow upon the commission the authority to Prohibit defendant from constructing the proposed facilities on its own land merely because such construction was to be situated entirely on the bank of the Mississippi. We are in accord with this conclusion. To construe plaintiffs authority to be extensive enough to prohibit defendant from building on its own land, although located on the river side of the Mississippi River levee and falling within the broad definition of ‘river banks’ would require a positive grant of power to the prot commission by the Louisiana Constitution.
Id. at 367.
11(iArticle 14, Section 31, of the Louisiana Constitution pertains to the creation of port districts and empowers the legislature to create port, harbor, and terminal districts as political subdivisions of the State. It empowers the legislature to “fix their territorial limits” and to define their duties, powers, “and jurisdiction.” The second circuit was unpersuaded by the port commission’s argument that it objected to the defendant’s construction based on its duty to protect and increase the commission’s income and thereby relieve the burden of the taxpayers. Though the court noted such a concern was “admirable and noble,” it was “incompatible with the type of use reserved for the public by Louisiana Civil Code Article 455” and nothing in the grant of authority to the port commission could be construed as a positive grant of authority to infringe upon this express right. Id.
LCP attempts to make the same argument here, asserting that the revenue it receives from Cameron LNG is necessary for its port operations, meaning that because LCP needs money to conduct its operations including spoil disposal and channel maintenance, the receipt of these funds constitutes activity “necessary for the maintenance” of the channel as authorized in the sponsorship legislation. The majority acknowledges “[t]he Governor did not specifically authorize LCP to lease anything under its Local Sponsor designation.” LCP has no “positive” grant of authority to collect fees based on port activities in Cameron Parish. As the court stated in Lake Providence Port Commis*600sion v. Bunge, 193 So.2d at 367, such an argument is incompatible with the exclusive jurisdiction and authority specifically bestowed upon WCP, which expressly reserves authority and jurisdiction to it to collect fees for wharfage, and to regulate marine vessel traffic and other port activities on property wholly situated in Cameron Parish for the benefit of the people of this state.
117Further, the record establishes beyond genuine dispute that the “amendments” to the original “surface lease” significantly changed the use of the premises, a fact clearly stated in both the “Second Amendment To Surface Lease” and the “Fifth Amendment To Surface Lease,” which contain the following (emphasis added):
WHEREAS, Lessee is proposing to construct and operate an liquified natural gas (“LNG”) marine delivery, storage and regasification terminal, including two unloading docks, three storage tanks and associated equipment to vaporize the LNG into natural gas and to process the LNG to extract volumes of natural gas liquids (and to store and transport such natural gas liquids) and a related gas pipeline to transport reva-porized LNG from the leased premises, all to be located on the premises subject to the Lease (the “LNG Facilities”), but such efforts require additional acreage and a change in the use of the premises subject to the Lease.”
The new facility includes a marine delivery shipping terminal providing open access to tankers as well as a new 35-mile pipeline. As noted above, the “Second Amended Lease” added a provision basing payments to LCP on wharfage on a per-marine-vessel basis and acknowledged LCP’s authority to impose wharfage fees and other fees upon all vessels calling on this port including LNG’s ships as well as all other marine “vessels calling at the LNG facilities.” Likewise, in its “Notice of Application” filed with the United States Of America Federal Energy Regulatory Commission, dated June 26, 2002, Hackberry LNG Terminal, LLC, predecessor to Cameron LNG, states (emphasis added):
Take notice that on May 30, 2002; [as revised on June 24, 2002], Hackberry LNG Terminal, L.L.C. (Hackberry LNG), 1000 Louisiana, Suite 5800, Houston, Texas 77002, filed an application seeking authorization to site, construct and operate a liquified natural gas (LNG) terminal located at Hack-berry, Louisiana, and a new 35 mile natural gas pipeline in Cameron, Cal-casieu, and Beauregard Parishes, Louisiana. The purpose of the LNG terminal is to provide open access LNG tanker services to shippers importing LNG. Hackberry LNG is requesting authorization to offer open access terminall-ing services at market-based rates; open access transportation service on the proposed pipeline will be separately charged, and calculated on a cost-of-service basis.
-Ls“-
Hackberry LNG also requests approval of the Hackberry LNG terminal as the place of entry for the imported LNG supplies under Section 3(a) of the Natural Gas Act and Part 153 of the Commission’s regulations (Docket No. CP02-378-000). Hackberry LNG also requests authorization in Docket No. CP02-376-000 to provide the LNG ter-minalling services on a firm and inter-ruptible basis pursuant to Section 7(c) of the NGA and Part 284 of the Commission’s Regulations. In addition, Hack-berry LNG seeks authorization, pursuant to Section 7(c) of the NGA and Part 157, Subpart A of the Commission’s *601Regulations, to construct and operate a 35 mile pipeline and related facilities to transport natural gas on an open access basis under Part 284.
According to the majority, the five lease “amendments” are without consequence because they did not change the operations of the lessee or the parties so drastically as to constitute a new lease. And, as such, LCP’s sponsorship authority to do what is “necessary for maintenance of the channel” was broad enough to allow it to “amend” the lease. These “amendments” amounted to the construction of a billion dollar plant and $65,000,000.00 in potential payments to LCP. Prior to the changes, LCP was not receiving any rentals based on the lessee’s operations on the property. It was simply an owner possessing property burdened by an existing lease, from which it was entitled to collect an annual rental of $25,000.00 per year for surface use, subject only to an annual cost of living adjustment.
The real question in this case has not changed from the one argued below by all the parties and addressed by the trial court — that is whether LCP’s port operations in Cameron Parish exceeds its authority. The answer is inescapably, “yes,” because the legislature has not elected to expand LCP’s jurisdiction beyond that statutorily granted to it. The jurisprudence likewise is well settled that its authority is special and defined territorially.
The Louisiana First Circuit Court of Appeal has addressed the question of whether political subdivisions of the state granted specific territorial jurisdiction may |19own land and perform functions outside of their own territorial limits and within the territorial limits of another political subdivision. In City of Baker School Board v. East Baton Rouge Parish School Board, 99-2505 (La.App. 1 Cir. 2/18/2000), 754 So.2d 291, the First Circuit rendered a well-reasoned opinion as to why such intrusion upon the territorial jurisdiction of neighboring political subdivisions cannot be allowed. In that case, the First Circuit explained that public education is a function of the state as the sovereign. Each school board in performing its function acts as the sovereign administering public education within its territorial jurisdiction much as each port district is a political subdivision of the state performing its designated functions within its territorial limits.
The ownership, management and control of property within a school board’s district is vested in the district, in the manner of a statutory trustee, for the accomplishment of its duty. See Orleans Parish School Board v. City of New Orleans 56 So.2d 280, 284 (La.App.Orleans 1952). The general rule of ownership of property of school districts was stated in 68 Am.Jur. Schools Sect. 74 (1993), as follows:
The ownership of school property is generally in the local district or school board as trustee for the public at large. School property is thus considered public property and is not to be regarded as the private property of the school district by which it is held or in which it is located. The Baker Board, as successor to the Parish Board for the accomplishment of the duty to educate, became the successor of the property through which the duty is to be accomplished. While actual ownership remains with the public at large, title follows the agency obligated to carry out the responsibility. Title to the school property at issue transfers to the Baker Board. Concerning the issue of compensation, we find none due the Parish Board. There has been no taking. The transfer of legal title from the Parish Board to the Baker Board is merely the transfer *602from one trustee to another. As stated above, the public owns the school property. (Emphasis added)
City of Baker School Board v. East Baton Rouge Parish School Board, 754 So.2d at 292.
We cited Baker School Board as the basis of our decision in Ebey v. Avoyelles Parish School Board, 03-765 (La.App. 3 Cir. 12/17/2003), 861 So.2d 910, writ denied, 04-0196 (La.3/26/2004), 871 So.2d 349, and held that the ownership of school board property is “generally in the local district or school board as trustee for the public at large.” Id. at 915. Based upon this proposition, we held that local school boards have the right to administer and manage Section 16 lands within their district.
Our courts have treated hospital districts in the same manner. In Hospital Service District Number 2 Of The Parish Of LaFourche v. Hospital Service District No. 1 OF The Parish Of Terrebonne, 97-1792 (La.App. 1 Cir 6/29/1998), 716 So.2d 168, writ denied, 98-2039 (La.11/13/98), 730 So.2d 450, the First Circuit addressed the question of whether Terrebonne HSD could own and operate a medical facility located inside the territorial jurisdiction of Lafourche HSD. Terrebonne HSD argued that the provisions of specific articles regarding the conduct of the hospital districts’ business (allowing for enhanced competition) should be placed on an equal footing with the enabling legislation which created the districts and defined their territorial boundaries. The First Circuit rejected that argument. The appellate court examined the enabling statutes, and the enhanced competition statutes, which contained general language such as “notwithstanding any other law to the contrary.” The appellate court reasoned that the enhanced competition statutes must be interpreted and applied “within the overall statutory scheme governing the hospital service districts.” Id. at 170. The court expressly held (emphasis added):
The topic specific competition articles do not and cannot, by inference, rewrite or supersede the enabling statute; and, thereby, extend the authority of the hospital service districts beyond that granted by the legislature. Thus, the competition articles provide that the hospital service districts’ ability to compete, with the ‘market for health care services’ within its authorized district boundaries, is enhanced, ‘notwithstanding any other law to the contrary’ that would impede such competition. La.R.S. 46:1077; see also La.R.S. 46:1074.
To allow the districts’ authority to be unilaterally extended into |21 another parish would result in the evisceration of smaller, poorer, or more rural hospital service districts created to provide services to all the residents of the particular district. The more affluent outside district would willingly serve the areas of needs of the local district or parish that presented a picture of profit, but might not want to provide general unprofitable services for all the residents of the local district or parish.
If consolidation or cooperation is beneficial to the public, the hospital service districts may cooperate and may share inter-parish services, if the requisite parties agree. La.R.S. 46:1051. However, by allowing a public hospital service district to compete with, and possibly cannibalize or destroy, a public district in another parish, many areas of the less affluent, smaller, or rural district could be left without the very medical services that the legislature hoped to promote.”

Id.

*603Likewise in this case, as candidly acknowledged by LCP in oral argument, West Cameron has no office, no money, no nothing. West Cameron’s authority could indeed be “cannibalized, destroyed and eviscerated” by the actions of LCP in conducting the present port activities within its territorial jurisdiction.
Further, LCP’s attempt to bootstrap its port activities in Cameron Parish with its authority as a landowner of the property does not change the illegal nature of its operations. Our courts have answered the question of a mixed use of property subject to one political subdivision’s jurisdiction by another political subdivision exercising a specifically authorized activity, such as use for spoil disposal. The Louisiana Fourth Circuit Court of Appeal, in River Marine Contractors, Inc. v. Board of Com’rs for St. Bernard Port, Harbor and Terminal Dist., 605 So.2d 654 (La.App. 4 Cir., 1992), writ denied, 607 So.2d 568 (La.1992), reviewed a declaratory judgment determining which of two port authorities had jurisdiction over a facility within the jurisdiction of the Port of St. Bernard upon which a tenant would be engaging in a mixed use of the facility, i.e. by handling both domestic and international cargo. In that case, the Port of St. Bernard purchased certain tracts of land within its ^jurisdiction in St. Bernard Parish. River Marine entered into a preliminary lease agreement with the Port of St. Bernard under which the port allowed River Marine to conduct a feasibility study for using the location for construction and operation of a marine cargo facility by River Marine which would handle both domestic and international cargo. The port agreed it would lease the property to River Marine if the results of the study were favorable. Both the Port of St. Bernard and Port of New Orleans claimed regulatory jurisdiction over the proposed facility. The applicable legislation provided the Port of St. Bernard with regulatory authority over any tenant on the subject property as to domestic cargo but expressly excluded international cargo. Other legislation vested express authority to the Port of New Orleans over any tenant on the subject property for international cargo. River Marine sought a declaratory judgment to determine which port had authority to issue the permits and regulate operation of River Marine’s mixed-use facility. The court looked to the express language in the enabling legislation concerning the Port of St. Bernard and the Port of New Orleans. The legislation spelled out the territorial jurisdiction of the Port of St. Bernard and specifically included language limiting its authority over a tenant owned facility to those “whose origin and destination is wholly within the continental United States, including coastal waters.” The court held that, as the statutory language clearly gave exclusive authority over international cargo to the Port of New Orleans, it had authority over the project regardless of the mixed use of the facility. WCP is the only legal entity in this case with the authority to collect the fees at issue within its jurisdiction.
The law provides for intergovernmental agreements, as mentioned in Hospital Service District Number 2, 716 So.2d 168, as the sole vehicle for two political subdivisions to cooperate on projects that may benefit both while protecting and | ^respecting the authority and jurisdiction of both political entities like LCP and WCP. LCP’s insistence that it alone is entitled to revenues generated from this port facility, including all wharfage, shipping, and channel user fees, located wholly within WCP’s jurisdiction, no doubt left the trial court with no alternative but to *604transfer ownership of the land to WCP.4
Despite LCP’s failure to seek an intergovernmental agreement with WCP, the majority attempts to ratify LCP’s unilateral actions by asserting it was done with the support of the Cameron Parish Police Jury and WCP. The record, however, demonstrates that while Cameron Parish Police Jury’s Administrator wrote a letter expressing support for the development and operation of an LNG plant in Cameron Parish, the letter was not followed by any resolution from the Parish or Port abandoning their respective authority over the site and channel activities within their jurisdiction. In fact, the record shows WCP was willing to discuss entering an intergovernmental agreement concerning the property but apparently LCP was not | ^interested.5
As the trial court correctly ruled, and as this court and our sister courts have ruled, title to this land belongs to the State (the public) and must be transferred to West Cameron as only it has the statutory authority to administer this property for the State and to conduct port, harbor, and terminal activities within Cameron Parish. This transfer of title to the people’s property will not impede in anyway LCP’s right or authority, as a subdivision of the State, to engage in dredging and spoil operations on the property-a servitude of use it had at the time it purchased the property, and a right the trial court’s judgment does not deny it today.

. The original surface lease was between Amoco Production Company and Cities Services Company executed in 1978. The lease was first amended in 1984 to add additional footage to a right-of way for ingress and egress.


. In 2006, after West Cameron filed this suit, House Bill H.R. 292, 2006 Leg., Reg. Sess. (La.2006) was proposed to specifically authorize LCP to exercise powers granted to it in its enabling statutes “within or without the territorial limits of the district.” This Bill also proposed to amend La.R.S. 34:206 to grant LCP authority to acquire all lands "and improvements thereon as necessary to accomplish the purposes for which the district is created regardless of where such lands or improvements are located.” The Bill additionally proposed a provision which would ratify and affirm any actions taken by LCP’s board outside the district’s territorial limits prior to July 1, 2006. This bill never became law.


. As the majority acknowledges, LCP’s enabling statute, La.R.S. 34:206, does not authorize LCP to purchase property for any purpose outside its territorial jurisdiction. Under the authority granted by the governor designating LCP as local sponsor, its activities as such are limited to channel maintenance for navigation. Indeed, the governor's authority to designate any port commission as local sponsor under La.R.S. 38:81 is limited to control of flood waters, navigation or use of rivers flowing through the state, and diversion channels for flood waters or similar undertakings. The governor's grant of authority to any port commission is also expressly limited in La.R.S. 38:81 to the "extent they are empowered by law to function.” LCP is not empowered by law to acquire property outside its territorial jurisdiction for port development or investment.


. This insistence by LCP, and its complete lack of respect for the jurisdictional authority of WCP was made evident in this case. The defense argued that WCP is attempting to receive something for nothing. The record belies this assertion. WCP passed local bond measures of $3,500,000.00 to be spent on maintaining the channel in Cameron Parish.
At a board meeting on October 14, 2002, LCP board member (Mr. Langley), perhaps prophetically, read “The Flying V" which explains the scientific discovery of why geese fly in a “V” formation. According to this report, flocks of geese fly in “V” formation because that formation acts aerodynamically as a single wing distributing wind drag equally across all birds. According to the Cal Tech research, twenty-five geese flying in a “V” formation can travel seventy-five percent farther than one goose flying alone. As Mr. Langley's report puts it "From geese, we can learn that although we live in a society that promotes individualism and self-reliance, we function more effectively in a community. Like the geese, we were created by God to work together, serve together and encourage (and) support each other. When we cooperate and help each other to succeed, we not only accomplish much but we do it with less stress and difficulty.” Perhaps that is exactly what the legislature had in mind when it provided statutory guidance for inter-governmental agreements. Such an agreement between LCP and WCP would have provided the only legitimate basis for LCP to operate within WCP's territorial jurisdiction. Unfortunately, LCP, chose to be the lone goose in hopes of having the ultimate reward all for itself. This exemplifies the precise danger of allowing neighboring political subdivisions like port districts, hospital districts, and school districts to cannibalize, destroy and eviscerate their neighbors for their own financial gain. The people of Cameron Parish deserve better.


. The record of proceedings before the West Cameron Port Harbor &amp; Terminal District dated October 14, 2004 states the following:
The board discussed the Sempra Project, the issuance of their permit and the future development of the Calcasieu Ship Channel. They did not want the permit to set the precedence over their authority. Mr. Romero, Mr. Savoie, and Mr. Wilkerson informed the board members on the outcome of the informal meeting between the Police Jury, the Lake Charles Port Harbor &amp; Terminal District and the West Cameron Port Commission Group.
On the motion of Mr. Hebert, seconded by Mr. Constance and carried the board agreed to have the same group to serve to negotiate with the Port of Lake Charles in reference to the Sempra Permit.

